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      July 31, 2024
      Chief Judge Brodie
      Eastern District of New York
      225 Cadman Plaza E.
      Brooklyn, New York 11201

      Bernadette Harper
      4607 S. Ridgewalk Dr.
      Houston, Texas 77053
      Ph. 346-907-7349


      To Honorable Chief Judge Brodie:
      I am writing to the Eastern District Court of New York, in regards to my claim for the
      Interchange Fees for Master Card and VISA, according to the Claims Administrator;
      they cannot send me a claim fo rm because they do not know which is my EIN number
      out of thousands they have received. I have been informed by Robins & Kaplan LLC,
      one of the law firms assigned to represent the defendants in the case. Master Card and
      VISA has provided them with everyone's EIN number who is affiliated with the
      case ... but I do not know my EIN number, so the Claims Administrator, nor Robins &
      Kaplan can locate my claim.
      I do not understand ... if the Claims Administrator has my EIN number why should I have
      to do anything else? They have my social security number, my name, my tracking
      number that was given to me by the Claims Administrator, my address for my business,
      and my new mailing address. I tried to update my new mailing address and I was told
      that their system could not expect my new address. The original claim was mail to the
      old address and returned. So, I do not understand why they cannot make a match, if a
      claim form has already been sent to me.
        I opened my business in 2001 and closed it in 2006, it has been over 18 years since I
      • used that number, and I never used the number again. And now the IRS does not have
       access it the number any longer. I am writing the to the courts to find out what are my
        rights in getting my claim filed before the deadline August 31, 2024? Myself and other
       store owners are all in the same situation. This case has gone on for so long now ... and
       we as store owners, the Claims Administrator, and the attorneys are not prepared. I am
       at the mercy of the courts.


      Respectively,
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